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 1
                            UNITED STATES DISTRICT COURT
 2
                               DISTRICT OF NEW JERSEY
 3
 4
     KARIM T. G.,                                 Case No: 2:18-17175 (ES)
 5
                                   Petitioner,    NOTICE OF MOTION FOR
 6                                                ORDER TO SHOW CAUSE,
     v.                                           PRELIMINARY INJUNCTION AND/OR
 7                                                TEMPORARY RESTRAINING ORDER,
 8   ATTORNEY GENERAL, JEFF SESSIONS,             PURSUANT TO FED. R. CIV. P. 65,
                                                  AND L. CIVIL RULE 65.1
 9                               Respondent.
                                                  Motion Day: May 18, 2020
10
11   PLEASE TAKE NOTICE:
12         Petitioner, Karim T. G., will move before the Honorable Judge Esther Salas,
13   U.S.D.J. on May 18, 2020, for an Order to Show Cause, ordering Respondents to
14   show cause why the Court should not grant Petitioner’s motion for a preliminary
15   injunction and/or temporary restraining order, pursuant to Fed. R. Civ. P. 65 and L.
16   Civ. R. 65.1(a), granting the Petitioner immediate release from custody and
17   restraining Respondents from re-detaining Petition for civil immigration purposes
18   for the remainder of his removal proceedings, including any and all administrative
19   or judicial appeals.
20         In support of this motion, Petitioner will rely on the attached Memorandum
21   of Law, certification of counsel pursuant to Fed. R. Civ. P. 65(b), Affidavits of Fact
22   Showing Entitlement to Relief by Petitioner, per Local Rules 7.1 and 7.2, and
23   supporting documentary evidence, Exhibits A – R.
24         A proposed Order to Show Cause, and Preliminary Injunction Order (“with
25   temporary restraints”) are submitted herewith.
26         Oral Argument is specifically requested by Petitioner.
27         Counsel for Petitioner has provided notice of Petitioner’s intent to file this
28   application to counsel for Respondent, Mr. Enes Hajdarpasic.


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 1         Petitioner respectfully requests for the Court to order his immediate release
 2   on his own recognizance, under such conditions of supervision as the Court deems
 3   necessary to ensure legitimate government objectives, such as flight prevention
 4   and/or protection of the community.
 5         He further seeks for the Court to also restrain the Respondent from re-
 6   detaining him for civil immigration purposes, for the rest of his removal proceedings,
 7   including any appeals, administrative or judicial.
 8
 9   Dated: April 24, 2020                  Respectfully submitted,
                                            / s / John P. Leschak
10
                                            John P. Leschak, Esquire
11                                          N.J. Bar No. 03113 – 2010
                                            Civil ID No. JL8921
12
                                            LESCHAK & ASSOCIATES, LLC
13                                          180 South Street
                                            Freehold, NJ 07728
14
                                            P (732) 333-0806
15                                          F (732) 333-0900
                                            john@justice4nj.com
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                                            Attorney for Petitioner
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